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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

ABDUL CRAWFORD,

       Plaintiff,

v.                                                         Case No. 6:23-cv-1780-RBD-DCI

NORTH AMERICAN CREDIT
SERVICES, INC.,

      Defendant.
____________________________________

                                            ORDER

       Before the Court are the parties’ cross-motions for summary judgment.

(Doc. 34 (“Plaintiff’s motion”); Doc. 33 (“Defendant’s motion”).) Plaintiff’s motion

is due to be granted and Defendant’s motion denied.

                                      BACKGROUND

       On June 21, 2022, Plaintiff was injured in a car accident while working as a

medical courier for AdventHealth Medical Group (“AdventHealth”). (Doc. 34-7,

¶¶ 3–4; Doc. 37-1, p. 2:1-2:6.) Plaintiff was taken to an AdventHealth hospital, and

AdventHealth provided a portion of his medical treatment. 1 (Doc. 34-7, ¶¶ 5–6.)

During his hospital stay, Plaintiff informed AdventHealth staff that his injuries


       1 Defendant provides an AdventHealth Treatment and Consent Agreement, allegedly

signed by Plaintiff upon his admission to the hospital, but Plaintiff disputes the authenticity of
the signature. (See Doc. 33-1; Doc. 37-3, ¶ 1.) Neither party argues that this document is material
to the analysis.
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occurred during the course and scope of his employment. (Id. ¶ 7.)

         On June 29, 2022, an AdventHealth employee made an appointment request

to Centra Care for Plaintiff’s workers’ compensation claim against AdventHealth.

(Doc. 34-1.)

         AdventHealth sent a statement dated July 7, 2022, to Plaintiff for $117.55 for

medical services provided on June 21, 2022. (Doc. 33-3.) AdventHealth sent a

second statement dated September 7, 2022, to Plaintiff for the $117.55 charge and

a further charge of $675.84 for medical services provided on June 21, 2022. (Doc.

33-5.)

         In early November 2022, Plaintiff received a letter from Defendant, a debt

collection agency, seeking to collect $117.55 for the AdventHealth medical bill for

the treatment provided to Plaintiff. 2 (Id. ¶ 9; Docs. 33-6, 34-2, 34-5.) But this medical

debt was covered by Florida Workers’ Compensation Law and was not the

responsibility of Plaintiff. (Doc. 34-7, ¶¶ 9, 13.)

         Plaintiff cannot recall if he contacted Defendant after receiving the letter.

(Doc. 33-7, p. 4:2–4:11.) But after receipt of the first letter, Plaintiff contacted

AdventHealth disputing the unpaid medical bills. (Doc. 34-4, p. 3:1–3:10.)

         On December 12, 2022, Plaintiff filed an initial Petition for Workers’



         2 Defendant’s letter lists the “date of service” as June 27, 2022, in scrivener’s error. This

continues throughout the record.

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Compensation Benefits with the Office of the Judges of Compensation Claims

(“OJCC”) requesting AdventHealth to pay for his medical treatment. 3 (Doc. 34-7,

¶ 10; Doc. 37-3, pp. 10–12.)

       On December 20, 2022, Plaintiff filed a second Petition for Benefits making

the same request of AdventHealth. (Id. ¶ 12.)

       In late December, Plaintiff received a second debt collection letter from

Defendant, dated December 20, 2022, seeking to collect $675.84 for the

AdventHealth medical bill for treatment provided to Plaintiff for the same injuries

from the work-related accident. 4 (Doc. 34-7, ¶ 11; Docs. 33-9, 34-3.) This medical

bill was also covered by Florida Workers’ Compensation Law and was not the

responsibility of Plaintiff. (Doc. 34-7, ¶ 13.)

       So Plaintiff sued Defendant for violating the Fair Debt Collection Practices

Act (“FDCPA”) for sending debt collection letters (“Letters”) to Plaintiff for

medical expenses covered by Florida Workers’ Compensation Law that were

meant to be paid by AdventHealth. 5 (Doc. 1-1; Doc. 34-7, ¶ 13.) Now, both Plaintiff


       3 In his declaration, Plaintiff said he filed the Petition for Workers’ Compensation Benefits

on December 2, 2022, in scrivener’s error.
        4 Defendant’s November and December letters, in apparent scrivener’s error, list the date

of service as June 27, 2022. Defendant and Plaintiff also give various erroneous dates for the
treatment provided to Plaintiff for the work-related injuries throughout their briefings, however,
all parties agree that the charges at issue were for the same treatment of the same injuries.
        5 Plaintiff only mentions the November collection letter from Defendant in the Complaint,

but neither party disputes the existence of the December collection letter, and Plaintiff alleges
violations of the FDCPA based on both letters in his summary judgment briefings. (See Docs. 1-1,
33, 34.) As such, the Court will consider Plaintiff’s FDCPA allegations against Defendant as to

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and Defendant move for summary judgment. (Docs. 33, 34.) With briefing

complete, the matter is ripe. (See Docs. 36–39.)

                                   STANDARDS

        Summary judgment is appropriate only “if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a). The court must view the evidence and all

reasonable inferences drawn from the evidence in the light most favorable to the

non-movant. Battle v. Bd. of Regents for Ga., 468 F.3d 755, 759 (11th Cir. 2006). When

considering cross-motions for summary judgment, the Court views the facts “in

the light most favorable to the non-moving party on each motion.” See Chavez v.

Mercantil Commercebank, N.A., 701 F.3d 896, 899 (11th Cir. 2012). But the Court does

not have to accept the non-movant’s factual characterizations and legal arguments.

See Beal v. Paramount Pictures Corp., 20 F.3d 454, 458–59 (11th Cir. 1994). The court

must ultimately decide whether there is “sufficient disagreement to require

submission to a jury.” Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1260

(11th Cir. 2004) (cleaned up).

                                    ANALYSIS

        Plaintiff argues that the Letters sent by Defendant constitute violations of




both letters.

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the FDCPA because the Letters falsely represented that Plaintiff owed medical

debt to AdventHealth. 6 (Doc. 34, pp. 10–14.) Defendant counters that the Letters

are not consumer “debt” within the meaning of the FDCPA, and that it is entitled

to the bona fide error defense. (Doc. 33.) The Court will address each issue in turn.

       I.     Consumer Debt

       Defendant, a debt collector, argues that the medical debt at issue is not

consumer “debt” within the meaning of the FDCPA because the treatment

provided was for a workplace injury, and Florida’s Workers’ Compensation Law

covered the debt. (Doc. 33, pp. 7–14; Doc 36, pp. 4–12.) Further, Defendant claims

that emergency medical debt is not consumer debt, and that the medical debt is

not FDCPA “debt” at all because Plaintiff was never actually responsible for

payment. (Doc. 39, pp. 2–4.)

       Plaintiff argues that the debt at issue is consumer debt because the debt was

part of a transaction between Plaintiff and AdventHealth for personal medical

treatment. (Doc. 37, pp. 2–8.)

       A debt collector violates the FDCPA when it falsely represents “the




       6 Plaintiff also argues against each of Defendant’s Affirmative Defenses. (See Doc. 34,

pp. 14–24.) However, Defendant only provides arguments in support of its Fifth and Seventh
Affirmative Defenses in its summary judgment briefings. (See Docs. 33, 36, 39.) So the Court will
consider Defendant’s remaining Affirmative Defenses abandoned. Further, the Court notes that
much of what Defendant deemed “affirmative defenses” in its Answer are not actually
affirmative defenses by definition. (Cf. Doc. 14.)

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character, amount, or legal status of any debt.” 15 U.S.C. § 1692e(2). Under the

FDCPA, a “debt” is “any obligation or alleged obligation of a consumer to pay

money arising out of a transaction in which the money, property, insurance, or

services which are the subject of the transaction are primarily for personal, family,

or household purposes.” Id. § 1692a(5).

      A debt collector’s false representation of debt facially violates the FDCPA,

even in the absence of deception or misleading behavior. Bourff v. Rubin Lublin,

LLC, 674 F.3d 1238, 1241 (11th Cir. 2012). Whether a letter from a debt collector

violates Section 1692e is evaluated under the least sophisticated consumer

standard, meaning that a violation has occurred if the least sophisticated consumer

would be deceived by a debt collector’s false representation of debt. See Jeter v.

Credit Bureau, Inc., 760 F.2d 1168, 1173–77 (11th Cir. 1985) (adopting standard from

Second Circuit).

      To bring a successful FDCPA claim, a plaintiff must show that the money at

issue is a “debt.” Oppenheim v. I.C. Sys., Inc., 627 F.3d 833, 836–37 (11th Cir. 2010).

Medical bills are “debt” within the meaning of the FDCPA. Mais v. Gulf Coast

Collection Bureau, Inc., 768 F.3d 1110, 1122 (11th Cir. 2014). Further, a plaintiff’s

medical debt that is subject to payment by their employer under Florida’s

Workers’ Compensation Law qualifies as “debt” under the FDCPA. See Kottler v.

Gulf Coast Collection Bureau, Inc., 460 F. Supp. 3d 1282, 1286–87 (S.D. Fla. 2020),


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aff'd, 847 F. App'x 542 (11th Cir. 2021).

       Here, the debt at issue, medical debt for treatment provided to Plaintiff

covered by Florida’s Workers’ Compensation Law, meets the definition of “debt”

under the FDCPA. (See Doc. 34-7, ¶ 13); Kottler, 460 F.Supp.3d at 1286–87. As such,

Defendant’s arguments claiming that the medical debt at issue is not FDCPA

“debt” because workers’ compensation covered the debt, was the result of

emergency medical treatment, and was non-transactional in nature are

unconvincing. (Cf. Docs. 33, 36, 39.) So Defendant violated Section 1692e(2) when

it sent the Letters to Plaintiff attempting to collect the medical debt. 7

       II.     Bona Fide Error Defense

       To successfully assert the bona fide error defense, the burden is on the

defendant to show that, by a preponderance of evidence, its violation of the

FDCPA: “(1) was not intentional; (2) was a bona fide error; and (3) occurred despite

the maintenance of procedures reasonably adapted to avoid any such error.”

Edwards v. Niagara Credit Sols., Inc., 584 F.3d 1350, 1352–53 (11th Cir. 2009)



       7  It is undisputed that Defendant’s Letters were false representations of money that
Plaintiff did not owe—both parties agree that the debt was the responsibility of AdventHealth.
(See Docs. 33, 34.) Also, the least sophisticated consumer would not have understood that
Defendant’s representations in the Letters, that Plaintiff was responsible for the debt from his
medical treatment, were false. See Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1177 n.11 (11th Cir.
1985); Kottler, 460 F.Supp.3d at 1286–87 (finding that “the least sophisticated consumer would not
understand the nuances of Florida’s Workers’ Compensation Law” and would not know that
they were not required to pay medical debt requested in the collection letter at issue). So
Defendant’s sending of the Letters is a violation of § 1692e(2).

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(adopting Tenth Circuit standard) (cleaned up). The defendant must satisfy all

three requirements. Id.

       There is no dispute that Defendant meets the first two prongs of the bona

fide error defense. (See Doc. 33, pp. 14–15; Doc. 37, pp. 8–9.) The central issue is

whether Defendant maintained procedures reasonably adapted to avoid the error

at issue. (See Doc. 33, pp. 14–21; Doc. 37 at 9–13.) Defendant lists three procedures

in support of its defense: (1) sending the Letters to Plaintiff as required by Section

1692g of the FDCPA; 8 (2) an internal procedure instructing its employees on what

to do if accounts are found to be covered by workers’ compensation; and (3)

AdventHealth’s        Standard       Operating      Procedure       giving     instructions      to

AdventHealth employees on the proper handling of accounts with workers’

compensation claims and FDCPA compliance measures. 9 (Doc. 33, p. 15; Doc. 33-

13; Doc. 36-1.)

       To satisfy the third prong of the bona fide error defense, the procedures

component, the defendant must show, as part of a two-step inquiry, that it both



       8 § 1692g provides requirements for debt collectors on sending written notice of debt to

consumers.
        9 Defendant also states that Plaintiff “declined to seek any statutory or self-help

assistance” and “did nothing” in response to the Letters. (See Doc. 33, p. 15.) The Court notes that
nothing in the FDCPA requires plaintiff consumers to dispute the debt with the debt collector
before filing suit under § 1692e. See Malone v. Accts. Receivable Res., Inc., 408 F. Supp. 3d 1335,
1344–45 (S.D. Fla. 2019) (agreeing with other circuits that consumer exhaustion of debt validation
procedures is not a prerequisite for bringing § 1692e claims).



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“maintained – i.e. actually employed and implemented – procedures to avoid

errors” and that “the procedures were reasonably adapted to avoid the specific

error at issue.” Owen v. I.C. Sys., Inc., 629 F.3d 1263, 1273–74 (11th Cir. 2011)

(adopting Tenth Circuit standard). This is dependent on the “facts and

circumstances of each case,” and the first step requires a “low threshold.” Id. at

1274.

        While debt collectors are not required to independently investigate and

verify the accuracy of a debt to qualify for the bona fide error defense, they cannot

“blindly rely on creditors to send only valid debts.” 10 See id. at 1275–77. An “after-

the-fact procedure” designed to prevent an error from happening again is also not

sufficient to qualify as bona fide error. See id. at 1275; see also Kottler, 460 F.Supp.3d

at 1287 (rejecting bona fide error defense where debt collector’s internal

procedures included training employees not to pursue debts subject to workers’

compensation, stopping collection once a workers’ compensation claim was

potentially discovered, and conducting an internal investigation when debts were

found to be covered by workers’ compensation). Further, procedures that the debt




        10 Defendant’s reliance on Cornette v. I.C. Sys., Inc., 280 F. Supp. 3d 1362, 1371 (S.D. Fla.

2017) is unpersuasive. Multiple courts have declined to follow Cornette in light of Owen. See
Malone v. Accts. Receivable Res., Inc., 408 F. Supp. 3d 1335, 1344 (S.D. Fla. 2019); Denning v. Mankin
L. Grp., P.A., No. 8:21-cv-2822, 2022 WL 3365273, at *9–10 (M.D. Fla. Aug. 11, 2022), report and
recommendation adopted, No. 8:21-cv-2822, 2022 WL 4139242 (M.D. Fla. Sept. 12, 2022). Here, the
Court agrees that Owen forecloses a reliance defense. See Owen, 629 F.3d at 1277.

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 collector is otherwise statutorily required to implement are insufficient. See Owen,

 629 F.3d at 1275. Defendants must point to some internal procedures or controls

 to satisfy their burden. See id. at 1276.

       The Eleventh Circuit noted, “to qualify for the bona fide error defense, the

 debt collector has an affirmative statutory obligation to maintain procedures

 reasonably adapted to avoid readily discoverable errors, such as the errors here.”

 Id. at 1276–77. But even in cases in which courts determined the error at issue was

 not “readily discoverable,” those courts found that, at a minimum, some internal

 procedure reasonably designed to avoid that type of error was necessary. See

 Valdes v. Accts. Receivable Res., Inc., 544 F. Supp. 3d 1313, 1321 (S.D. Fla. 2021); Carter

 v. Cap. Link Mgmt. LLC, 614 F. Supp. 3d 1038, 1048–49 (N.D. Ala. 2022).

        Although the third prong of the bona fide error defense “is a uniquely fact-

 bound inquiry susceptible of few broad, generally applicable rules of law,” courts

 have consistently resolved the issue at the summary judgment stage. See, e.g.,

 Owen, 629 F.3d at 1277.

        Defendant maintains three claimed procedures to avoid errors: (1) the

 validation process required by Section 1692g of the FDCPA; (2) its internal

 procedure instructing employees on what to do if accounts are found to be covered

 by workers’ compensation; and (3) its reliance on AdventHealth’s procedure to




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 prevent the collection of debt covered by workers’ compensation. 11 (See Doc. 33,

 pp. 14–21; Doc. 33-13; Doc. 36, p. 14; Doc. 36-1). So it meets the “low threshold” of

 step one. See Owen, 629 F.3d at 1273–74.

        Step two looks to whether “the procedures were reasonably adapted to

 avoid the specific error at issue.” See id. First, Defendant cannot satisfy this step by

 pointing to a procedure, namely the validation process under Section 1692g, that

 it is statutorily required to implement. (See Doc. 33, pp. 15 – 16, 20); Owen, 629 F.3d

 at 1275.

        Second, Defendant’s internal procedure, in Defendant’s own words,

 “address[es] how NACS representatives are to handle accounts that are

 discovered to be work-related to avoid allegations of a violation of the FDCPA.”

 (Doc. 33, p. 17; Doc. 33-13.) Because this is an “after-the-fact procedure,” not

 designed to prevent the sending of collection letters for debt covered by workers’

 compensation, this procedure is insufficient to qualify for the bona fide error

 defense. (See Doc. 33-13); Owen, 629 F.3d at 1275; Kottler, 460 F.Supp.3d at 1287.

        Third, while AdventHealth’s Standard Operating Procedure is designed to

 avoid the mistaken collection of debt subject to workers’ compensation coverage,


        11   Plaintiff provides excerpts from the deposition of Defendant’s 30(b)(6) witness
 describing Defendant’s automatic account-scrubbing procedure, however, the witness admits
 that this scrubbing procedure does not check if an account is covered by workers’ compensation
 or if the debt is the result of work-related injuries. (See Doc. 37, pp. 10–13.) So the Court will not
 consider this procedure in its analysis.

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 Defendant cannot rely on its creditor’s procedures to qualify for the bona fide error

 defense. (See Doc. 36-1); Owen, 629 F.3d at 1275–76.

       Defendant fails to support its contention that it is more entitled to reliance

 on AdventHealth because of AdventHealth’s role as the medical provider and

 workers’ compensation claim administrator in this case, and, to the extent

 Defendant argues that the error was not discoverable or that no apparent

 procedures would have prevented the error, these arguments are speculative and

 unsupported by evidence. (Cf. Doc. 33.) Defendant has the burden of showing that

 it maintained procedures that were “reasonably adapted to avoid the specific error

 at issue,” and Defendant has not pointed to any internal procedure designed to

 prevent collection of debt subject to workers’ compensation. (Cf. id.); see Edwards,

 584 F.3d at 1352; Owen, 629 F.3d at 1273–74. Defendant is not entitled to the bona

 fide error defense.

       Considering the evidence in the light most favorable to Defendant, there is

 no genuine issue of material fact. The Defendant violated the FDCPA and does not

 qualify for the bona fide error defense, so Plaintiff’s motion is due to be granted.

                                   CONCLUSION

       Accordingly, it is ORDERED AND ADJUDGED:

       1.     Plaintiff’s motion (Doc. 34) is GRANTED.

       2.     Defendant’s motion (Doc. 33) is DENIED.


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         3.   The Plaintiff’s claim will proceed on the issue of damages.

         DONE AND ORDERED in Chambers in Orlando, Florida, on October 16,

 2024.




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